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                       IN THE UNITED STATES DISTRICT COURT FOR THE

                                   NORTHERN DISTRICT OF OKLAHOMA

 LINDSEY K. SPRINGER, . )
                   Plaintiff, )                                         )

                                                                        )
        v. ) Case No. 06-CV-156-GKF-FHM
                                                                        )
 DOUGLAS HORN, Individually; MELODY )
 NOBLE NELSON, Individually; BRIAN )
 SHERN, Individually; 10 UNKNOWN )
 AGENTS OF THE INTERNAL REVENUE )
 SERVICE, Individually; and OTHERS )
 UNKNOWN, Individually, )
                   Defendants. )                                         )

                                                                         )




                             DECLARATION OF MELODY NOBLE NELSON

        I, MELODY NOBLE NELSON, declare that:

         1. I am presently employed as an Assistant Attorney General in the Oklahoma Attorney

 General's Office in Tulsa, Oklahoma, where I prosecute criminal and civil cases in the Patient

 Abuse and Medicaid Fraud Division of our office. I am one of the defendants in the above-

 captioned civil action.

        2. This Declaration is being executed in support of                               the individual federal defendants'

 motion for summary judgment in the above-captioned civil action.

        3. Except where specifically noted to the contrar, I have personal knowledge of                                 the facts


 set fort in this Declaration, and, if called upon to testify to said facts, could do so competently.

        4. I have read, and am familiar with, the allegations of the Bivens Complaint in this case.


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              5. I graduated from the University of                       Central Arkansas with a degree in Accounting in

  1985, and from the University of Arkansas Law School in 1988. After passing the bar and

  obtaining my license to practice law in Arkansas, I was employed as a civil                               litigator at the firm of

  Crockett and Brown, P.A., in Little Rock, Arkansas, between July of 1988 and June of 1990. I

 was employed by the Pulaski County Prosecuting Attorney's Office between June of 1990 and

 December of 1992. I was admitted to the Texas Bar and served as an Assistant District Attorney

 for Bowie County, Texas, between April of 1993 and November of 1994. Between March of

  1995 (when I was admitted to the Oklahoma Bar) and November of2001, I served as an

 Assistant Attorney General for the State of Oklahoma.

              6. From approximately December of200l until July of2006, I served as an Assistant

 United States Attorney for the Northern District of Oklahoma in Tulsa, Oklahoma, where I

 prosecuted individuals for violations of                        federal law. In July of2006, I left my job as an Assistant

 United States Attorney to return to my previous employment as an Assistant Attorney General for

 the State of Oklahoma.

                              The investigation into the activities of Lindsey K. Springer
                                  and the search warrant for the search of his residence

             7. While I was an Assistant United States Attorney for the Northern District of

 Oklahoma, I was assigned to a case involving an investigation by the Internal Revenue Service

 into the activities of           the plaintiff, Lindsey K. Springer, for alleged violations of                 Title 26. United

 States Code (including, but not limited to, section 7201 of the Internal Revenue Code). As part

 of   this investigation, I prepared a search warrant for the search of                           the plaintiffs residence in


 Kellyvile, Oklahoma. On or about September 15,2005, I presented the search warant and the



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 supporting declaration oflRS Special Agent Brian M. Shern to United States Magistrate Judge

 Frank H. McCarhy, who signed the search wárant and authorized the search of Springer's

 residence.

             8. A copy of            the search warant signed by Magistrate Judge McCarthy is attached to the

 "Movant's Motion for (1) Copy of All Sworn Testimony Court Considered in Issuance of Search

 Warrant (2) The Application for the Search Warrant and (3) Return of Certain Property Either

 Not Items Listing in Search Warrant or Clearly Not Subject to Seizure" fied by Springer in In

 the Matter of        the Search of        Premises Known as 25757 South 201 sl West Avenue. Kellyvile.

 Oklahoma, Case No. 05-SM-l (N.D. Okla.) (hereinafter, "the Movant's Motion"). A true and

 correct copy of            the Movant's Motion, including Exhibits 1 and 2 thereto (the search warant

 issued by Magistrate Judge McCarhy on September 15, 2005, and the Inventory Listing of All

 Items Seized at Search Warant Site, respectively), is attached to this Declaration as Exhibit 1.

             9. Listed among the items to be seized in paragraph 2 of Attachment B to the search

 warrant (Exhibit 1 to this Declaration) for Springer's residence were "(c)urrency and monetary

 instruments including cashier's checks, receipts of cashier's checks, money orders, traveler's

 checks, and other monetar instruments."

                      The search of         Lindsey Springer's residence on September 16, 2005


             10. The search of           Springer's residence pursuant to the search warrant authorized by

 Magistrate Judge McCarthy took place on September 16, 2005. I was not present for the search

 of the plaintiffs residence by IRS Special Agent Brian Shern and other IRS Special Agents.

             11. I have never traveled to Springer's residence in Kellyvile, Oklahoma.

             12. On the morning of            the execution of   the search warant at Springer's residence on


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 September 16, 2005, I received a telephone call from Supervisory Special Agent Willam R.

 Taylor, who was one of                the Agents who was involved in the search of              Springer's residence.


 During this conversation, Agent Taylor informed me that approximately $19.000 in U.S.

 currency had been discovered in the search of                            Springer's residence. I, along with Douglas Horn

 (the Chief of        the Criminal Division of               the United States Attorney's Offce for the Northern

 District of Oklahoma) and Agent Taylor, determined that the currency should be seized pursuant

 to the search warrant signed by Magistrate Judge McCarhy as potential evidence of one or more

 violations of        Title 26, United States Code, by Lindsey K. Springer.

             13. On the afternoon of               September 16,2005, I received a telephone call from

 Supervisory Agent Taylor, who informed me that although they had thought they had about

 $19,000 in cash, the actual amount, as counted at a bank, was $17,000. I asked Agent Taylor if

 any Agent was ever alone with the cash, and he replied "no." I asked Agent Taylor to document

 who had been around the money, and what had happened.

                                         Subsequent contacts with Lindsey Springer

             14. Shortly after the execution of                    the search warrant at Springer's residence on

 September 16, 2005, Lindsey Springer began to call me at my office at the United States

 Attorney's Offce in Tulsa, Oklahoma. In several instances, Springer left messages for me at my

 offce. All of the messages concerned the return of the currency and car titles.

             15. IRS Special Agent Brian Shern called and told me that Lindsey Springer was callng

 him about the return ofthe currency and car titles. I told Agent Shern to refer Springer to me.

             16. During the telephone conversations that I had with Lindsey Springer, he asked me to

 recuse myself from his case, which I declined to do. Springer also requested the re~urn of the


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 currency and car titles. Because I believed that the law did not require me to do so, I told him

 that I would not retur the curency or car titles.

             17. Springer informed me by telephone that he would file something with the Court for

 the return of the currency and car titles. I informed Springer that the currency and car titles

 would be retured to him if                  the Court ordered the Government to do so. I also asked him to stop

 callng me and to put any of                 his requests or concerns in writing. I did this for two reasons. First,

 Springer was the target of an investigation, and I was uncomfortable with discussing matters with

 him over the telephone. Second, based on prior experience with Springer. I was concerned that

 anything I said to him might be taken out of context.

                                                   Springer's Rule 41 motion

             18. On September 23, 2005, one week after the execution of the search warrant at his

 residence, Springer fied his "Movant's Motion for (1) Copy of All Sworn Testimony Court

 Considered in Issuance of Search Warant (2) The Application for the Search Warrant and (3)

 Return of Certain Property Either Not Items Listing in Search Warrant or Clearly Not Subject to

 Seizure" in In the Matter ofthe Search of                 Premises Known as 25757 South 20)51 West Avenue.

 Kellyvile. Oklahoma, Case No. 05-SM-l (ND Okla.). The "Movant's Motion" sought the

 disclosure of        the supporting declaration oflRS Agent Brian Shern (as well as any other

 supporting materials) and the return of the currency and car titles that were seized pursuant to the

 search warant. A true and correct copy of                  the "Movant's Motion," together with all materials

 filed in support of that motion, is attached to this Declaration as Exhibit 1.

             19. I prepared and fied the United States of America's Response to Movant's Motion for

 Copy of Sworn Testimony, Application for Search Warrant and Return of Certain Seized Items


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 (the "Response") that was fied with the Court on October 5, 2005. A true and correct copy of

 the Response is attached to this Declaration as Exhibit 2.

             20. In an Order entered on October 28, 2005, Magistrate Judge McCarthy denied

 Springer's request for copies of                   the materials and/or testimony considered in connection with the

 issuance of the search warant and the application for the search warrant. The Court also denied

 without prejudice Springer's motion for the retur of                         the seized currency and car titles. A true

 and correct copy of the October 28, 2005 Order is attached to this Declaration as Exhibit 3.

             21. After the denial of              the Movant's Motion, Assistant United States Attorney Douglas

 Horn and myself            made the decision to return the currency and the car titles that were seized

 pursuant to the search warrant to Springer. It is my recollection that Agent Shern went to

 Springer's residence in January of                     2006 and gave him a Treasury check in the amount of

 $17,000.

             22. I did not steal any money from the plaintiff in this civil action, or enter into any

 agreement or conspiracy with Assistant United States Attorney Douglas Horn or any IRS Special

 Agent, or anyone else, to steal any money from Lindsey Springer.

             23. I did not, individually or in conjunction with any other party or individual, "cover up"

 or attempt to "cover up" any alleged discrepancy between the amount of currency shown on the

 "Inventory Listing of All Items Seized at Search Warrant Site" ("Approximately $19,000.00 in

 U.S. Currency") and the $17,000.00 amount shown on the Treasury Check tendered to the

 plaintiff. Lindsey K. Springer, in Januar of                    2006. I opposed the "Movant's Motion," as


 described in paragraph 18, above, because of                     my good-faith belief     that Springer had not

 demonstrated that he would suffer irreparable har or injury (as he was required to do under


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 Rule 41 of   the Federal Rules of   Criminal Procedure) if         the money and car titles seized from his

 residence on September 16,2005, were not returned to him immediately, and for the other

 reasons set forth in the United States' response to Springer's motion for the return of seized

 items.

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                                                        CERTIFICATION

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of         perjur that the foregoing is true


 and correct. 11
       Executed on November ~ 2007.




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                                   CERTIFICATE OF SERVICE

        IT IS HEREBY CERTIFIED that service of the forgoing DECLARATION was filed

 with the Clerk of the court electronically today, July 14, 2008, such that a service copy was sent

 by way of the electronic filing system to the plaintiff and all counsel who have arranged for

 electronic service of filings




                                                      /s/ Robert D. Metcalfe
                                                      ROBERT D. METCALFE DC #423163
                                                      Trial Attorney, Tax Division
                                                      U.S. Department of Justice
                                                      P.O. Box 7238
                                                      Ben Franklin Station
                                                      Washington, D.C. 20044
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                                      NORTHRN DISTRCT OF OKLAHOMA
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                                                                                             Phil Lombardi, Cler
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 "Premises known Is~as      ' ~ l5LS
                     . -..----..-..-.-.....-... "'.'-"'-."   0- u_.""'._
                                                                                             :US ATTORNt:Y
                                                                                             ~..P. ~L.HOMA
 25758 South 20ist                   West       Avenue'


 Kellyvlle, Oklahoma"

                                                                               Case No.


        MOVAN'S MOTION FOR (1) COPY OF ALL SWORN TESTIMONY
             COURT CONSIDERD IN ISSUANCE OF SEARCH WAR
                (2) TI APPLICATION
                                                              FOR TI SEARCH               WAR AN
                (3) RETU OF CERTAI PROPERTY EITHR NOT ITEMS
                       LISTED IN SEARCH WAR OR CLEARY NOT
                                                          SUBJECT TO SEIZ.


            Lindsey K. Springer (herinafer referred to as "movant'), moves the

 Distrct Cour for an order (I) dirctg the releas to movant of all sworn


 testimony the Cour considered in its fidig of probable cause to issue the search


 wart on Sepembe 1 5, 2005 regarg the searh of the prope knowÌ as
 "25758 South 20lst West Avenue, Kellyville, Oklahoma; and (2) diti releae


 of the "application" which the                            Cour considered in reviewi the affdavit and

  issung the Seah Wart, and (3) ditin certn curency and documents be

 retued imedately to movant and the proper known as "25758 South 201 st


 W est Avenue, Kellyvlle, Oklahoma".

                                                                                                        EXHIBIT

                                                                           i                                    i


                                                                                                                        f4 ",e
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            Without the sworn testony atthed to the wart or witout the wart

  mang reference to the fact that support the fidig of probable caus, the

  wat violates the Four Amendment Rights of movan. Likewse seiz

  curncy can in no way be evidence of any crimes under setion 7201 or 7203 for

  the year 2000 to preset. And fially, without seein the afdavit and


  applicatio~ Movant is unable to make an exhustive list of the seized prope

  bein outside the scope of the wart and issues revealed therin and at the

  conducted search, but cery two vehicle titles wherein said vehicles are in need

  or registtion can in no way be with any of the four listed reasons for issuce

  of a Seach Wart under Rule 41 (c).

             Cucy derved from the cashi of a check in September 2005 is not

  "evidence of a crie". It is not contraband or frits of a cne or otherwse

  ilegally possessed. It is not propert intened to be used to co~t a crie and

  41(c)(4) does not apply. There are no fact to support the seizu of       the curency.

             VehIcle titles ar not evidence of a cre, nor contrbad, frts of a cre,


  ilegally possessed, propert designed for use, intended use or used in committng

  a crie. They wer also not listd on the overbroad Searh Wart specificaly


  or in some genera way as to intend to be within its reach. Ther are no facts to

  support the seiz of these titles.

                                                                       2
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                                                             BACKGROUN

               On September 15,2005, this Cour issued a "Searh Warant" (hereinaft


  reference as "wart") directig Brian M. Shem ("herinft referd to as


  Serving Agent") and any Authorized Offce of                                    the United States to "search on or

  before 9~25~2005 the premises known as 25758 South 201st West Avenue,

  Kellyvlle, Oklahoma". Exibit 1

               On Septmbe 16, 2005, Brian M. Sher and severl other employee of                                  the

  Cri Investigation Division of the Inteal Revenue Serice, served said


  wat upon movant at the prper known as "25758 South 201st West Avenue,

  Kellyvile, Oklahoma"

               On September 16, 2005, Brian M. Sher tedered to movant an ~~Inventory


  Listing of          all items Seizd at Searh Wart Site" (hereiner referrd to as

  "seiz prerty"). Exhibit 2




  I. MOTION TO RELEASE ALL SWORN TESTIMONY 1H COURT
      CONSIDERD IN FIING PROBABLE CAUSE TO ISSUE SEARCH
               WAR.
               Federal Rules of Cri Prcedur Rule 41 autori ths Cour to issue a
                                                                       \
  warant to an offcer authorize to execute it. See Rule 41(e)(1) 2005 Edition.


  The wart may only be issued for the purse of gatherg evidence of a cre,

                                                                            3
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  for contrbad, frts of crie, or other items illegally possessed, for prpe

  designed for use, intended for use, or use in commtting a cre, or for a persn to

  be arte or for whom is unawfly retred. See Rule 41 (c)(l) through (4).

             The Atthment "B" labeled ''ITEMS TO BE SEIZED" states "Bas on the

  forgoin, I respetfuly submit th ther is probable cause to believe tht the


  followig items, which constitute evidence of                                 violations of            Title 26, United States

  Code Sectons 7201 and 7203, will be found at the location described in

  Atthment A in individual and business naes includig, but not limted to

  Lindsey Spriger, Osar Stilley, and Bondae Breer Mistres. All the items

  to be seiz as referced below ar for the year beginng Januar 1,2000,

  though the execution of                        the wat includig the followi...:"
              "The Four Amendment protects the individual's privacy in a varety of

   ses. In none is the zone of prvac mor clealy defied th when bounded

   by the unbiguous physical dienions of                                      an individua's home - a             zone tht


   fids its rots in clear and specific consttuona ters: 'The right of the people

   to be seur in their. . . houses. . . shall not be violated.' That language


   unequivocly establishes the proposition that '(a)t the very core (of                                          the Four
   Amendment) stads the right of a man to reat into his own home and there be

   fre from unonable goverenta intrion.'" Payon v. New York, 445 U.S.


                                                                          4
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  573,585,589-90, 100 S.Ct. 1371, 1379, 1381-82,63 L.Ed.2d 639 (1980)

  (altertions in original) (citations omitted). See also u.s. v. Dahlman, 13 F.3d

  1391 (10t Cir. 1993)


             The Four Amendment provides tht ''no Warts shall issue, but upon

  prbable cause, supportd by Oath or aftion, and paicularly describin the

  place to be sehed, and the persons or thgs to be seized." U.S. Const. amend.


  IV; United States v. Mesa-Rincon, 911 F.2d 1433, 1436 (10t Cir. 1990); see also

   U.S. v. Janus Industries, 48 F.3d 1548 (10t Cir. 1995)

             The Supree Cour has stated tht "probable cau is a fluid concep -

  tung on the assessment of probabilties in parcular faal context - not

  readly, or even usefuly, reduced to a neat set of                             legal rues." Illinois v. Gates,

  462 U.S. 213, 232, 103 S.Ct. 2317, 2329, 76 L.Ed.2d 527 (1983). "The tak of                                     the

  issuin magistrte is' simply to mae a praical, common-sense decision whether,

  given all the cirumtaces se fort in the affdavit before him . . . there is a fai

  probaility that contrband or evidence of a crie will be found in a pacular

  place." Id. at 238, 103 S.Ct. at 2332; see also Janus supra.

            The pacularty requent of the Four Amendment "prevents a

  'generl, exploratory ruaging in a peon's belongings,' Coolidge v. New


  Hampshire, 403 U.S. 443, 467 (91 S.Ct. 2022, 2038, 29 L.Ed2d 564) (1971) and

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  '''maes gener searhes.. impossible and prevents the seizu of one th under

  a warant describing another. As to what is to be taen, nothing is left to the

  discreton of the offcer executi the wart."'" United States v. Leary, 846 F .2d


  592,600 (10th Cir. 1988) (quoting Stanford v. Texas, 379 U.S. 476,485,85 S.Ct.

  506, 512, 13 L.Ed.2d 431 (1965)). It '" ensu tht a seah is confed in scope to

  parcularly described evidence relating to a specific crie for which there is

  demonsted probable cause.'" United States v. Leary, 846 F.2d at 600 (quotig

  Voss v. Bergsgaard, 774 F.2d 402, 404 (lOt Cir. 1985)); see also United States v.

  Sullivan, 919 F.2d at 1424; United States v. Mesa-Rincon, 911 F.2d at 1440. U.S.

  v. Wickv, 995 F.2d 964 (lOth Cir. 1993)

             It has been held tht if                 "rl1he face.ofthe wat does not show the "fac"
  referr to, but they are contaned in the affdavit us to support the request for


  the wart which wa atched to and served with the wart" that ths produr

  "thus inormed of the reasons for the searh and its puroses". The affdavit was

  incorprate into the wart, and we shll not requi that the facts stted in the

  afdavit be recited again on the face of                               the warant when they ar served together.

  See Clay v. United States; 246 F.2d 298 (5th Cir.).

             Clearly, the wart dated September 15, 2005, is clearly in violation of                         the

  four amendment and the rights of movant. It atthes no affdavit and maes no

                                                                          6
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  reference to any facts derived from any affdavit It uses the boiler phr ''tere


  is probable cause" and lists two code sections from "Title 26 United States Code".

              Movan enqui as to who the USAS was and movant wa told it was Mr.

  Melody Noble Nelson of                        the Unite States Attorney's Offce ,in the Norter

  Distrct of Oklahoma )(hereinafr referenced as "ASUA").

             Movant asked to see the "affdavit" referenced in the infi warant and

  was dened. Movant asked if the afdavit was on site and was told that anymor

  questons regarding the wart would have to be addressed to the ASUA.


  Movant enquird the ASUA for the affdavit and wa denied access to it.

             Movant telephoned the chabers of                     the Honorable Magsrate Judge for the

  United States Distrct Cour Fra H McCary and was informed to mae a

  request for sad affdavit. LET THRE BE NO MISTAK ABOUT TIS.

  TIS is MOVAN'S REQUEST FOR TH AFFIAVIT 'TT WAS RELmD

  UPON BY TI HONORALE JUGE TO FIN "PROBABLE CAUSE". The

  afdavit was not attched to the wat and the wat maes no specific

  reference to the facts claimed to support the wart.

             When reviewig a wart, "we read togeter all propely incorporated or

  referenced components of the wart, including the attched application and


  afdavit." United States v. Occhipinti, 998 F.2d 791, 799 (lOt Cir. 1993).



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  See also U.S. v. Callwoo, 66 F .3d 1110 (10t Cir. 1995)

         "In dealing with probable cause, . . , as the very nae implies, we deal with

  probabilities. These ar not tehncal; they ar the fadual and practca

  consideraions of everyday life on which reasonable and prudent men, not legal

  techncian, act.' Id., at 175. Ou observation in United States v. Corte, 449 U.S.

  411,418 (1981), regarding "pariculard suspicion," is also applicable to the

  probable-cause stada. Rlinis v. Gaes, 462 U.S. 213, 231 (1983)


         As ealy as Locke v. United States, 7 Crach 339,348 (1813), Chief     Jusice

  Marll observed, in a closely related context: "(The ten 'probable caus,'

  according to its usua acceptation, meas less than evidence which would justfy

  condemntion. . . . It impor a seizu mae under circlUtices which Wllt
  suspicion. "
     ,


         Movant respectfly reuests ths Cour to releas to movant all sworn or

  affed testimony the Cour relied upon in issuin the wat dated Septembe

  15,2005 at 4:01 pm.


  n. MOVAN REQUESTS TIS COURT TO RELEASE TI
         APPLICATION MAE BY TH GOVERN SEEKIG SAI
         WAR TO SEARCH.                                                                 -,.




         Basd upon that absolute right of Movant to be served with a wat that




                                                                     8
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  satisfies the Four Amendment, Movant respecfuly request ths Cour dirt the

 release of any/all applications relied upon to obta the wart dated September

  15, 2005 to Movant.

  m. MOVAN REQUESTS TIS COURT DIRCT TH RETU OF TH
          CURNCY TAK PURUAN TO TI WAR AS WELL AS
          DOUMNTS TAKN THT WERE NOT PURUAN TO'IH
          WAR.
          A. The Currency

          On September 16, 2004, the Serce Agent served upon Movant a deficient

  warrant which did not atth any affdavit under the Four Amendment

  requients nor did it refernce any facts with the wart referncing the

  afdavit it claims probable cause was foun to support.


          The war dirte tht al "curncy" be seized and any "money ord",

  "cashier checks", and "traveler's checks" and other "moneta instrents".

  There is nothg in the wat itslf that justifies the Goverent holdig or
  maintainng the "curncy" taen frm Movant. Ths curency was received

  thug a local fiancia institution from the casg of a check made payable to


  Movant and there is no way that ths cashig could in any way relate to ''violation

  of   Title 26, United States Code Sections 7201 and 7203.

          Movant ~quested U.S. Assistt Attrney Melody Noble Nelson age to


                                            9
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 retu the seiz curncy and she inormed Movant ''not at ths time".


        Since there is no fact alleged in the wart nor could ther be any tht

 would not be eaily contrctd justfy the seiz of curcy frm Movant's

 home, nor is there any due procss given to tae such curency frm Movant,

 Movant respectly request ths Cour issue an ordr re the curcy to

 Movant immedately.

        B. TH VEmCLE U'ES
        There is nothg contaed with the warant that would direct the Serce

 Agent to seize vehicle titles recently purha by ~ovant. The wart is very

  ambiguous in ths regar as it only mentions "documents related to the purhase

 and sale or other vehicles or machiery." The Goverent can simply tae .

  copies of these documents but teder the origins back to Movant. When asked

 for these to be reed to Movant U.S. Assistat Attorney Mr. Melody Noble

 Nelson respnded that she would give copies to Movant but not the originals.

 Movant then ased why and Mr. Nelson reponded tht Movant had other


 vehicles and did not need these titles.

       The wart says the alleged probable cause violate sections ar section

 7201 and 7203. There is nothng in either of these two secons that a grand jur

 maita the original titles of two vehicles would need to contiue their

                                           , 10
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  investigation. The ony ren the cuncy and the titles ar atmpting to be

  maintaed is because of an end ru around secon 6330( e) by the seizing of

  propert belongig to Movant. Mr. Nelson is fuy awa those vehicles canot

  be licenced corrtly or taed without the titles to the vehicles. She was also


  informed that the only collecton issues beee Movant and the IR ar under

  stay in Oklahoma City puruat to section 6330( e). Mrs. Nelson responded that

 that case was civil and her case is cral.


        "In dealing with probable cause, . . . as the very name implies, we deal with

 probabilities. These ar not techncal; th ar the faetual and pratical


  considerations of everyday life on which reasonable and prudent men, not legal

 techncians, ac.' Id., at 175. Ou observation in United States v. Cortez, 449 U.S.


 411, 418 (1981), regardig "parculared suspicion," is also applicable to the

 probable-cause stdad. Illinois v. Gates, 462 U.S. 213, 231 (1983)

        As early as Locke v. United States, 7 Crch 339, 348 (1813), Chief Justce

 Marshall observed, in a closely relate context: "(T)he term 'probable cause,'

. accrding to its usual acceptation, mean less than evidence which would justify

 condemnation. . . . It import a seiz made under circumtance which wørnt

 suspicion. "

        Ther can be no suspicion let alone condemnation regar vehicle titles.


                                          11
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 The vehicle titles have noth to do with seon 7201 nor secon 7203. They

  do not chae whether the money given to Movant that acquire them was


  excludable under section 102 of the Inte Revenue Code.

             Since the warant did not conta any alleged facts which would authorize


  the sei of the two titles taen and no afdavit attched explaig the need for


  the seizu of the titles, Movant respeclly request ths Court issue an order

  directin the retu of                   the two orgi titles to Movant imedately.


  iv. CONCLUSION

             Movant respetfuy reuest ths Cour releae a copy of              the applicaton and

  al sworn testiony it relied upon to fid prbable cause regardig the Searh

  War issued on Septebe 15, 2005 as well as order the retu of the curncy

  seized and the titles seized on September 16, 2005 by the Servce Agent.




                                                                 12
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                                                 CERTIICATE OF SERVICE

              I HEREBY CERTIY THT a tre and correct copy of              Movant's
  MOTION FOR (1) COpy OF AL SWORN TESTIONY COURT
  CONSIDERED IN ISSUANCE OF SEARCH WAR (2) TH
  APPliCATION FOR TH SEARCH WAR AN (3) RETU OF
  CERTAI PROPERTY EITR NOT ITEMS LISTED IN SEARCH
  WAR OR CLEARY NOT SUBJECT TO SEIZ was maled to
  U.S. Attrney Ofce .
  Att. Mr. Melody Noble Nelson
  110 West 7th St., Suite 300
  Tulsa, Oklahoma 74119
  918-382-2700

  U.S. Deparent of Justce
  Robert D. Metcalfe
  Tax Division, Trial Secton
  555 4th Stret N.W. Room 8921C
  Washigton   D.C. 2001
  202-307-6525




                                                              13
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    .. ,'. ~ .' . .
',' 'ÄÔ !13: IRe~, 5/85) Search: Wa'rrnt
                                                                                        ... ,: .:..
                                                                                     ., ,~. .
                                                                                                                          ..:                              .... "". '.....




                             :' ,'U,'nJte'd~'Stätes, I)'i's.tr'j"ct.dC'o:u::rt~'"
                                               NORTHERN                                           District of '                 'OKLAHOMA'

    In the Matferofthe Search of ..                                                                    , SEAR:CH:WARRANT
    Name. address or bie' descpìion 0,' persn, propert or premise lò be searched)


               Pr.emises known ,as: " ,                                                                 Ca.se- N
               25758 South        201 st WestAve~ue'
            , 'Kellyvile; Oklahoma
                                                                .'., .,'.' '
                                                                                                                                                         :.:: :
                                           Åuthorized: Offcer of the u~itèd :States:
    To: Si'an M. Shern and any
                                                                                                                                                         . '.'




                                                                          ,,
   Afdavit(s) having b~en made'befbreme by Brian'M. Shern;'who hasrea~oi1 to                                      believe th'at on the premises kr.ow~ a's', ,:


               BY REFERENCE '
               SEE ATTACHMENT Ä- LOCAtlON,TO BE SEARCHED, ATTACHED'                                                HERETO AND MADE A PART:HEREOF


  , in the Northern Distri~t of Oklahomå, there,is now coÌitealed:c~rtain propert, na'mely


               REFERENCE ,'" , ' , ,
               SEE ATrACHMENT ,B- ITEMS TO BÉ SEIZED, ATTACHED HERETO AND ,MADE A PART HERÈOF' BY'



   I amsatisfièd' 'that the affdavit(s) and any recorded testimony establish probable' cause to believe that the, person' o~
   property so' described is now: concealed on the person or premises above-described and establish grounds for the-

  . .' .
   issuance of this wa'rrant. ,

   YOU     ARE HERE'BY COMMANDED to search on or:befor.e'                                       ,,- 'zS"-() S , "
                                                                                                       , '. ,,' Date
   (not to exceed 10 days) the person or plate named above for, the person or                             property specified; serving :ttiis warrant and"
   making thesearch'(in the daytime,~'.6:00' A.M: to                           '10:00 P.M'.)and'if,the persOn or propert to be,found,there tO',seize'
   same, leaving, a copy of this warra'nf and receiptfor.'the person' or propert taken" and prepare,a writtn inventory'of',tte '
   person or property seized and' promptly return this warrant to Magistrate Judge'Frank H. McCarthy as. required bylaw..,.'




     f~/f'~'d~ '                      .y:fJl ¡'A,
                         Date and Time Issued                                   at                                   Tulsa, Oklahoma

 'Frank H. McCarthy, U.S. Magistrate,Judge

            Name and         Title of Judicial Offic~r




                    --
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. '...
                                     '''i .~:~;;.,
                                                                  '.,                 ,',
                                                                                  : ;::~::':;~';':,:"',,~                                  ....... '.'\'




         ..ateW~rrant Receiv,ed ,
                                                                                 " RE'fURf,
                                                     , : Date,and:Tïme WamintExeCuted'
                                                                                                                   ,,
                                                                                                            '~6py'ofWarrant and ReceipUor Items,LeftWlth

         .'iNVENTORYMADE:IN THEPRESENCEO¡;


         'INVENTORYOF PERSON ORPROPERTY TAKEN PURSUANTTOTHEWARRANT


                                                                        .:"




                                                                                                                                          " "




                                                                              CERTIACATION




                            , ,,,'',
                 I swear that this inventory is a           true ,and detailed account oHhe'person or-propert taken by me on the warrnt.




                 Sub~crlbed; sworn to, and returned before me this _ day of                                                                     .20--.

                                                                                                                                            Date
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                     ,'                                          'ATTÁCHNIENT,A: '

                                                     LOCATION -rO: BE SEARCHED" '


             ,. '
                '", '
                    '
  ,Two~story r~sidence ~nd curtilage, surro~ndingoutbu¡ldrngsiappurtena¡'ces, bus~s,,'

             . ...".. ¡
 , automobiles',           and propert (inCiudihg,lockedc'ntainers)of LINDSEY SPRINGER,

   located at         25758 SOUTH201sTWESTAVENU'E, KELLyviLLE; ÒKLA~OMA, 74039:'

   more, specificallydescribec 'as' follows': ,

                A-two-story residence located on:the- 'Nest srde of South 201st West                                                         . ."




                                   . . ..,.'
                                           '.
                Avenue. The entrance of the residence' faces non:heast. The residence is ' '


                                            ' .'
                   " '
              , made' of reddish-brown colored brick with ,light colo'red g'rayish sid!ng

                covering the majority of the front of the residence. The door and windows

             " of the residence' are white. There is an unattaGhed tWo-car garage, and

             , two small outbuildings,thatare perpendicular to the residence and                                          fate ,

                southeast. South 201
                                                     stWest
                                                                  Avenue is'riot identifie~, with a                street sign. it.




                                , ' ,, ",, '
                is 1.,2 miles west of the turnpike gate on StataHig,hway 33, which can be

                accessed from'èxit number'211' off                         the TurnerT~m'pikel' headed"

                                                                                                                    201st West


                               ,, '' ,' ,
             , westbound from Sapulpa. Adjacentto the entrance                                        of   South




                Avenue from State: Highway                       33 is a    gray mailbox on' awoodenpost with

                the numbers "12244". The residence located at 257'58 South 201st West

                Avenue is approximately one: quarter-mile on South 201st West Avenue

                from this mailbox.'


         -
, Attached is a map showing the location of the residence, a satellite photograph of' '

  the residence,and surrounding area, and some                                      photographs of            the residence and.


 the mailbox adjacent to the road.'leading up to the residence.


                                                                                                                              Pag,e t of 5
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'i,,'




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                                                                                                                       I ¡ .1 Map,
                           '~~'~:~"',l~-'~(,~'"                                                                        : l.
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                                                                                                                                    . ."l"t..!             .,.. -__ .
                                                                                                                                 . .-) J' 'd ¡"1---"
                                                                                                                                               -.. ''-_-_.
                    ",:i ,I                                                                                                      . ,'- '. Öl;: t
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                                                                                                                                 =._~,_-,l, ;.,"J"'i,,
                l~:                                                                                                   -iOO51¡,ii"'.'htlp d O2S NAVT-.




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          ~t~~i.iit';;:::fn:~:           . ...~. . ..

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                                                                               '.J. ....

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                                                                                             i::".-.....
,;

     ~'.' .

                                          : ~ '. .
                                                                         Å1TACHM:ENT B ,                                                       , , ,
                                                                                                                                          ,'
                                                                 ITEMS'TO BE, SEIZED

                                                                                       , "

              , ,Based'on'thè:fôr~going" (respectflly submit thatth'ere is' prob~ble'ca~se tò belí~ve : ,'"
                                                                       '.: .'
              ',,' thatthe following, items: 'which,constitGte evidence of vio.lations of                      TitlEi26, Uni~d: ' " , '

               ,..'States Code'Sectio'ns 7201 and                           7203, will be'found:att~~location-desciibed::'ih':

                  AttchmentA ¡'n'individual' a~d business names' ¡ncluding,but not limited to'

               .,
                ." ' , ,. .
               , 'LINDSEY SPRINGER, OSCAR STILLEY, and BONDAGE




                  MINISTRIES~ All of th~ items to, be seized as,referencedbe,low arefbrthe year
                                                                                                           BREAKERS



                 ,beginning' Janu~ry 1',,'20ÔÒ'through the' execution ~f thewarranti,ncluding:the

              , 'following:


                ",1. Client biling: records" fee schedules, contracts, for employment, estimates for'

                       services, filed courtdocuments;, and correspondence (op.ened and unopened)

                      relating to       the above         referenced            'items,;

                 2. Currency"and monetary.-nstruments includiiigcashier's ,checks, receipts:of

                       ca~hìer's checks¡ m~ney 'qrders" traveler's'checks,' and other monetarY

                       instruments;


                           ,, ''
                 3. aarik records including bank statements" deposit tickets, cancelled checks, debit '
                                                     "

                       and qredifmemos,: råcords of wire transfers, and records of safe deposit box:

                       rental arid e'ntry, financial statements, and correspon~ence (open and unopened)

                   __ with ba nks, and: financial institutions;


                 4. Financial records including                          tax returns, documents relating to the preparation of

                      his tax       returns, documents related to the purchase and sale of automobiles or



                                                                                                                       Page 1 of 5
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..' .' '.' .
    , '
                                                                       " '",',                                                       . .\" .


                       :"other Veh,iGleS orIT8chinery'" documentation of ,business                     expenses, ,,'

                       ,docume'ntatiori of' othe.r expenses,dÓcumentation of personal expenditures,; arid' ','




                            , , ,.''" . .
                        Credit ca'rd records; d


               ,'5'" Financiaf statement records including)oöks, ledgers" nota~iori~,:;liem6.randa!':, ,,'

                        cash, receipts anq'disbursements journals; generaljou.rnals"accO,unts receivable'

                   .    and payable ledgers, general                       'ledgers, ba/ånce sheets, profifand loss statel'~nts, .




                          , "
                       'and j¡;c6m~ distribution stat~mènts;' " "


                '6'.,' Loan records from,áriy source whatsoever and påyments relating thereto~ as, weU

                        as loan application~, financial statements, and documents related to:,the '


                          .' . '.
                       ,attinment of loans;,

                7. Address' and/or telephone' records, reflecting names, addressesj' andlar te!ephone

                       , numbers;

                8. Property recòrds including documents related to the purchase and sale .of real

                       estate;

                9.: Records of mailbox.                  or drop box             rentals;,

               , 1å, Records of storage~ rent'als';




                     , ,, '
                11. Rental or lease agreements of real propèrty, autos, electronics, equipr:e,nt, and.

                , '          ,'
                       machinery';




                     , '
               , 12.As used above.:the, terms records, documents; or statements include records,


                   , '
                   . . . . ,
                       documents, or statements created, modified, or stored in any fomi. '

                13.ln searching for data capable of being read, stored or interpreted by                           a computer,

                   , law enforcement personnel                         'executing this, search warrant wilr' employ the

                       following procedure:




                                                                                                                       Page 2 of 5
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, ,                                                                                 . .', . .....
                                                                                                                                              .. '.'
                                                                                                                                             '... ','
                                                                                                                                             ,,", . .....J,'

        ,.
t..,':




                              ,',,-. . .
.... ,'".
               " ;, "',' .'
                                                                                                                                                     ,"
                                                                                                                                                  . ."



                                a,: . Upon seciiring, ttie p'remises',: ia~~nfor.cemEmt pe~sonnel traihed in,.
                                                                                                                                                     ..




                                                                      , "
                                                 "  '
                                     se:arching and se,izing: comput~r data.                        (thé "computer personnel"),wiI ,m,a.ke""
                                                                  , .'
                                  'an'initial review            or any ~omputer ,equipment and storage                  devices to

                               " determine

                                           ,   "
                                          ., ' .", "
                                                       whether theseitems'can be s~archedon-site in"a reasonable

                                     amount onime and withouljeopardizing the abiltyto'preservethe data:':


                                                , '
                              "b; inhe computarequipment and storage devices.' cannot b,e se~rched on::

                                    'site in a reasonable am\?unt of time, then ,tne, computer personnèi wil ,



                                    the
                                               , '
                                     determine whether it is practicçii to copy the'data during the, exe.cution of "

                                             search in a reasonable amount of time without jeopardizing' the abilty

                                    to prel:erve the"data~d


                              , , c. 'If the' computer personnel determine itis not practical to, perform 'an on-


                                                                                      , '
                                  , site search or make an on-site copy of the data within a re~sonable


                                             , ', ', '
                                    amount of time, then the computer equipment and storage devices wi. be

                                    seized and transported to' an appropriate law                          enforcement laboratory.'for


                                                , ,
                                 , Jeviéw.Tl:8'computer equipment and stdrage devices, wil be revi'ewed by


                                              " '
                                , , appropriately trained personnel                         In order to extract and seize any data,that.

                                    falls within,the Iist'of items to'be,seizèd'setforth her.ein.

                              ,q. In searching.the data, the ,computer personnéi niay.'examine all of the data

                                   , contained' in the computer equipment and storage                           devices to view their

                                    preCise contents and dete'mine whether the                            data falls within the items to'-

                                    be seized as set forth herein. In addition, the computer personnel may

                                    search for and attempt to recover "deleted'" "hidden" or encrypted data to




                                                                                                                              Page 3 of'5"
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                                   '. ....; .                                                          .., . .,' .,
                                  ., . . ~ ,'....
.:;. . /. '.~.::. ''''":..   .:.... .
 .... .:...-.....

                        .;: .                                                                                                                                 . .'. ."

                                                                                                          '. .' ,




                                                                                                                                      ,,,''
                                                              , deter~irie' whether the 'data fàiis' within the list of ite~s to~ be seized' as" s~t" ,

                                                          ',' ,forth,: herein. '

                                                         'e,. Lf the
                                                                                                                    , ' .
                                                                          computer personnel determine thatthe' data dbas not f~H within any

                                                           ': 'of the items to 'be seized pursuant to this' warrant, or is notothe'wise


                                                           . ., .' .' .."
                                                              'legally seized', the government wil retum,these items' withiii a ,reason~ble'

                                                            '" period qf time' notto ex'ceèd60 days from tha date of seizurë unless :


                                                           . ., .' .. .
                                                         , , ",further authorization,is obtained fr~~ the' couit~'

                                        , 14.ln 'ordèr to search for data that is capable                             of being read or, interpreted, by a

                                                    computer, 'jaw: enfbr~ement per~onnei'will' need to,'s~iie 'the follo~ing 'items;'


                                                                , ..    ,.... '....
                                                    subject to the pr~cèdur.es set forth                 ,above::     ,




                                                                                           equipment and',storagedevite capable' of being used to
                                                         å. ' Any computer




                                                                          , ' '
                                                              commit" further               or store eviden'ce ofthe offense listed above;'

                                                         b. Any computer equipment used to faciltate the transmission, creation,

                                                           , : display,

                                                                       , ' ,' '
                                                                             encoding, or storage ofdata, including.wqrd processing

                                                             , equipment; modems, docking stßtions; monitors, printers, plotters,

                                                              encryption devices, and               ,'QpticaJ scanners;

                                                         c. Any magneUc, electronic or optical storage device capable of storing data",

                                                            , such as'f1oppydisks.hard disks, tapes, CD~ROMs, CD-R, CD-RWs,


                                                                                     , "
                                                              DVDs, òptica! disks, printer or memory buffers, smart, cards, PC cards,

                                                              memory calculators, electronic diålers, electronic notebooks:, and personal

                                          -'
                                                              digital assistants;

                                                        d. Any documentation,. operating logs and reference manuals regardin'g the

                                                              operation of the computer eq.uipment, storage devices or softare;




                                                                                                                                                    Page 4of5 ,
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                            , :.;.'..... '. .,'. '....                       .. :::.
                                                                :::. :;.. .:..... . .....".
                                                                                     'N'..  ,'. ~   ;. ..
                                                                                                                     '. .' . ..~..:_....:~;;...,:....;_. .~:'::!,.:"
                                                                '.~ ......
                                                                                                                                           . ..' .....
                                                         . ..' . .' '. ~ .
~' ':..
   ....:.'.'.',                                                                                      ...... .
       ., i                  . ":.'.,.
  . :: "




                                                           , .',. ..'
                             'e'. Any ap'pHcations,.utility programs,~ compiters, intérpreters" and oth'sr'                                          ,..' '.
                                         softare.used,~'to'fåci!itate"di¡'ect'ör in.dir,e~tcOnimUnication with the
                                                           ,.
                              " " computer hardware,storage devic.es'.or data to be searched;': '

                          ,',' "t. ::" "Any ph,ysi,Gár këys, e.l"Cnlpti~ndeVitè~;ddÖD9,les ~nd sítnilar phy'sicai,:it~ms "
                                                                               ,,
                                    "that are ,~ecessa:rY togain access"tå tha.computerequipment; st6råg~

                           "',' "devices or data; and .' '


                                                   . ., ''.'
            ,"




                                                          '
                               g,., An\¡ passwords', pàssv,ord 'fies, 'test keys, encryption' codes or other. . ,

                                         information ríecessary to access: the computer equipment, storage devices,

                                      or data. ,

                                                                                                                                    :, .




                                                                                                                Page 5 of                5' .
                                         ,: l; ./
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                                                                                                                  OCr :t./
                         IN THE UNITED STATES DISTRICT COURT FOR THEi.ê"Iikh. (16 ~a :l
                                       NORTHERN DISTRICT OF OKLAHOMA l-J:~~ f6
                                                                        ~")' i ~
   IN THE M..iTTER OF THE SEARCH OF                                                                                     Cò"",

   PREMISES KNOWN AS
   25758 SOUTH 201 ST WEST A VENUE
                                                                                  ¡) ,ê)m(~E
                                                                                       CASE NO. 05
   KELL~LE, OKLAHOMA                                                              )



                   UNITED STATES OF AMERICA'S RESPONSE TO MOVANT'S
                        MOTION FOR COpy OF SWORN TESTIMOl\iy,
                               APPLICATION FOR SEARCH
                    . WARRT AND RETURN OF CERTAIN SEIZED ITEMS


              The United States, by its Assistant United States Attorney Melody Noble Nelson,

   requests that the Court deny Movant's Motion, based on the following arguments and

   authorities.

   I. The Application for Search Warrant and Sworn Testimony in support of the
              Application should remained sealed.

              Movant; Lindsey Springer, requests release of all sworn testimony and the application

   considered by this Court in issuing the search warrant served upon him at the propert known

   as "25758 South 20181 West Avenue, Kellyville, Oklahoma". This information should not


   be provided to Movant because the United States has a compelling goverment interest

   justifyg the sealing of               the search warant affidavits until the conclusion of          the investigation.

              "(There is) no right of access to search warrant materials while a pre-indictment


   investigation is          underway." Times Mirror                   Co. v. United States, 873 F.2d 1210,1211 (9th Cir.

   1989). Although there is a common law right of access to cour documents, this presumption

   has not applied to materials properly under seaL. In the Matter of the Search of 1638 E. 2nd



                                                                                                EXHIBIT

                                                                                                   2                        1l l' (5"
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   Street, Tulsa Oklahoma v. United States, 993 F.3d 773, 775 (lOlh Cir. 1993) (internal

   citations omitted.) "(T)here is no right of access to documents which have traditionally been

   kept secret for important policy reasons." Times Mirror Co. at 873 F.2d 1219.

                This search warant was issued only after an ex parte application by the Government

   and in camera consideration by this Court. This Court determined sufficient reason existed

   to keep the warant materials under seaL. "The process of disclosing information to a neutral

   magistrate to obtain a search walTant (therefore) has always been considered an extension

   of   the criminal investigation itself. It follows that the information disclosed to the magistrate

   in support of the warant request is entitled to the same confidentiality accorded to other

   aspects of       the criminal investigation." Times Mirror Co., 873 F.2d at 1214. The Court, in

   Times Mirror Co., recognized the importance that search warrant materials remain

   inaccessible while a pre-indictment investigation is ongoing. See, Matter of         the Search of

   Flower Aviation of             Kansas, Inc. 789 F. Supp. 366, 368 (D.Kan. 1992).

                Often, a part providing information for an affdavit for a search warant is protected

   by the "informer's privilege". Under this privilege, "the state is normally entitled to refuse

   to disclose the identity of the person who has furnished information relating to an

   investigation of a possible violation oflaw." Hoffan v. Reali, 973 F.2d 980,987 (1 st Cir.

   1992). However, this privilege is not absolute. If the part seeking disclosure makes a

   proper showing of need, the privilege wil give way. It wil yield when "the identification


   of the informant or of a communication is essential to a balanced measure of the issues and


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   the fair administration of justice. The party opposing the privilege may overcome it upon

   showing his need for the information outweighs the government's entitlement to the

   privilege." Doe v. Local                 1942, IBEW, 870 F.2d 368,372-73 (7th Cir. 1989).

              Movant has not established that his need for the affdavit or for sworn testimony is

   essential to fair justice. As of the date of this Response; Movant is not the subject of a

   criminal indictment. At this early stage of the investigation, the Government's need to

   protect infomiers outweighs Movant's need for the information. The informers' privilege is

   stronger since Movant's motion is civil in nature                               and the constitutional guarantees assured

   to criminal defendants are inapplicable. See, Matter of Search of 1638 E. 2nd Street. Tulsa,

   Okl., 993 F.2d 773,775 (10th Cir. 1993) citing Doe, 870 F.2d at 372.

               Movant has failed to allege any facts that would warrant unsealing the affidavit in a

   ongoing investigation case where the government is asserting an informer privilege.

   II. Movant is not entitled to the return of the cash and car title seized during                                     'the
              execution of the search warrant.

              Movant has requested ths Cour order the Government return cash and a car title

   seized pursuant to the ,search warrant executed at his propert. Requests for return of


   propert taken pursuant a search warrt are governed by FED. R. CRIM. P. 41(g). Rule

   41 (g) provides,

             A person aggreved by an unlawful search and seizure of property or by the
             deprivation of propert may move for the propert's return. The motion must
             be filed in the distrct where the propert was seized. The court must receive
              evidence on any factual issue necessar to decide the motion. Ifit grants the
             motion, the court must return the property to the movant, but may impose

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              reasonable conditions to protect access to the property and its use in later
              proceedings.

              Actions for return of propert are govered by equitable principles which should be

   undertaken with "caution and restraint." Floyd v. United States, 860 F .2d 999, 1003 (ioth

   Cir. 1988). ) Therefore, a distrct cour may assume jurisdiction over a preindictment Rule


   41 (g) motion if a movant demonstrates that being deprived of actual possession of the seized

   propert causes irreparable injury and must be otherwise without adequate remedy at law.


   Floyd at 860 F.2d 1003. However, "the mere threat of imminent indictment does not

   establish irreparable injury as required for a motion under Rule 4l(e)." Blinder i Robinson

   & Co. v. United States (In re Matter olSearch 016455 South Yosemite, Englewood, Colo.),

   897 F.ld 1549, 1557 (lOlh Cir. 1990).

              Movant fails to establish that he will be irreparably hared if the money and title are

   not returned to him immediately. In addition, this evidence is needed to continue the

   investigation.

              The elements of 26 U.S.c. § 7201 are 1) the existence of a tax deficiency, 2) an

   affirmative act constituting an evasion or attempted evasion of       the tax, and 3) the defendant

   acted wilfully. United States v. Townsend, 31 F.3d 262, 266 (5th Cir. 1994) citing Sansone


   v. United States 380 U.S. 343, 351 (1965), United States v. Wisenbaker, 14 F.3d 1022,1024




              ¡Effective December 1, 2002, Rule 41 was amended and reorganzed. What was formerly
  Rule 41(e) was changed to Rule 41(g) with minor stylistic chages. Most of   the cases cited by
  the Governent were decided prior to the amendment and reorganization. Therefore, the cited
  opinions wil refer to Rule 41(e) instead of Rule 41 (g).

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   (5th Cir. 1994). Dealing in cash has been held as evidence of an affirmative act for purposes

   of   tax evasion, 26 D.S.C. §720L. See, United States v. Daniel, 956 F.2d 540, 543 (6th Cir.

   1992). 111erefore, the cash seized from Movant's home may constitute evidence should the

   Government file criminal charges against Movant.

                Movant requests his car title be returned. However, Movant has failed to allege how

   the Governent's retention of                  his car title will cause him iiTeparable harm. Movant currently

   has four automobiles and two motor homes in his possession, therefore, he will have

  , transportation even ifhe does not have the original title to his new Lexus automobile.

                In addition, evidence that 'shows any act taken by Movant in order, to mislead or

   conceal fuds from the Governent to avoid paying taxes could be used as an affirmative

   act constituting evasion. See, United States v. Voigt, 89 F.3d 1050, 1090 (3rd Cir. 1996).

   Accordingly, the title of Movant's recent car purchase is important as potential evidence

   should the Government file charges.

                Movant has not established that he wil be irreparably hanned ifhis cash and car title

   are not returned to him. Furer, the cash and car title are needed in the event the

   Government files criminal charges in this case. Therefore, the Government requests the

   Court deny        his request for return of         his propert.

   Conclusion                                                                                                      ,
                Movant is not entitled to the affidavit and sworn statements in support of search

   warant sealed by this Court. The Governent's interest in its ongoing investigation and the



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  protection of its informants outweigh Movant's interest in the affidavit and sworn statements

  in support of search warant.

             In addition, Movant has failed to establish irreparable har ifhis cash and car title are

  not returned. Therefore, his Motion for retu of these items should be denied.


                                                                     Respectfully submitted,


                                                                     DA VID E. 0 'MEILIA
                                                                     United States Attorney


                                                                      ll
                                                CERTIFICATE OF SERVICE


             I hereby certify          that on the 5th day of October, 2005, I served the foregoing
  document by postage paid U.S. Mail; who are not registered partcipants of                    the ECF
  System:

                        Lindsey K. Springer
                        5147 South Harard, #116
                        Tulsa, Oklahoma 74135




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                                                                             OCT 3 1 20
                         UNITED STATES DISTRICT COURT FOBsTM~RNEY
                             NORTHERN DISTRICT OF OKLAHM OKLAHOMA

        In the Malter ofthe Search of: ~rs IA                                      / . : .l .l ..
                        . ~~- -1        7"3 .. ~
        "Premises known as             . ~ B ~ q
        25758 South 201 st West Avenue ) " ~.t
        Kellyvile, Oklahoma" ) (UNDER SEAL) 7'+
                                                  ORDER ~ (J
                Movant's Motion for (1) Copy of All Sworn Testimony Court Considered in Issuance

        of Search Warrant (2) The Application for the Search Warrant and (3) Return of Certain

        Property Either Not Items Listed in Search Warrant or Clearly Not Subject to Seizure, is

        before the Court for consideration. The motion concerns a search warrant issued in an on-

        going criminal investigation. The application for the warrant and the affidavit in support of

        the application were ordered sealed by the Court.

                Movant asserts that the warrant was served on him at the address listed on the

        warrant and that he was provided with an inventory of the items seized pursuant to the

        warrant. Movant contends he is entitled to the application for the warrant and the sworn

        testimony the Court considered in issuing the warrant because without that information the

        warrant violates Movant's Fourth Amendment rights and also because he needs the

        information to determine if items outside the scope of the warrant were seized. Movant

        also contends that there was no basis for the seizure of currency and car title(s) and seeks

        their return.

               Initially the Court notes that Movant's motion fails to establish his lawful personal

        interest in the property searched or the items seized which provides an independent basis

        to deny the motion. Even assuming that Movant has a lawful personal interest, the law



     ')/l                                                                                   EXHIBIT
 iKrJ                                                                                            3
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   does not support the relief requested. There is no right to access to the application or

   affidavit in support of a search warrant during an on-going investigation. Matter                                of Search

   of1638 E. 2nd Street, Tulsa, Okl., 993 F.2d 773 (10th Cir. 1993); Times Mirror                                 eo. v. U.S.,

   S73 F.2d 1210 (9th Cir. 19S9). If the investigation results in a criminal prosecution, access

   to those materials may be sought in those proceedings. Movant's motion is DENIED as

   to (1 )Copy of All Sworn Testimony Court Considered in Issuance of Search Warrant, and

   (2) The Application for the Search Warrant.

              Movant's request for the return of the seized currency and car title(s) is also

   insuffcient. Such motions are best deferred until the completion of the criminal

   investigation unless irreparable harm will occur during the delay. First Nat. Bank of Tulsa

   V. U.S. Dept. of Justice, 965 F.2d 217 (10th Cir. 19S9). Here, Movant has not only failed

   to establish his lawful personal interest in the seized items, he has also failed to establish

   irreparable harm. The motion for the return of                              the currency and the car title(s) is, therefore,

   DENIED WITHOUT PREJUDICE.1

              SO ORDERED this 2Sth day of October, 2005.



                                                                                    ø1 #: /'$~
                                                                                    FRANK H. McCARTHY
                                                                                    UNITED STATES MAGISTRATE JUDGE




              i If any subsequent proceedings arise concerning the currency or car title(s) the Government
   should address why its interests would not be fully met by making copies of the items for use in its
   investigation and returning these apparently non-contraband items to the lawful owner.
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                          UNITED STATES DISTRICT COURT FOR THE l;.tl, h
                              NORTHERN DISTRICT OF OKLAHOMA ,,~~' ~
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                                                                                         ~1.~4l ¿OOO
        In the Matter of the Search of              )                                    ~e~ c__
                                                    )   Case No.                               COtI
        "Premises known as                          )
        25758 South 201st West Avenue               )
        Kellyvile, Oklahoma"                        )   (UNDER SEAL)
                                                                             Qr~.lkrL "-
                                                ORDER
                                                                             èJ    . b~
              The Motion to llnseal Documents (Dkt. 285) filed by the United States is before the

        Court for decision. A response to the motion (Dkt. 286) was flIed by Mr. Lindsey Springer.

        The motion requests that the Court unseal: Movant's Motion for (1) Copy of All Sworn

        Testimony Court Considered in Issuance of Search Warrant (2) the Application for the

        Search Warrant and (3) Return of Ceitain Propert Either Not Items Listed in Search

        Warrant or Clearly Not Subject to Seizure (Dkt. 198J; the United States of America's

        Response to Movant's Motion for Copy of Sworn Testimony, Application for Search

        Warrant and Return of Certain Seized Items (Dkt. 215); and the Court's Order of October

        28,2005 (Dkt. 227), for use in a civil cae.e, Case No. 06-CV-156-TCK-FHM.

              After consideration of the papers on file, the Court concludes that the motion should

        be granted as set forth herein. The documents sought to be unsealed were seIVed on the

        United States and Mr. Springer so they are aware of the contents of those documents and

        making the documents available for use in the pending civil case, No. 06-CV-156-TCK-

        FHM, would not jeopardize any ongoing investigation.

              The Court, therefore, GRANTS the United State's Motion to Unseal Documents (Dkt.

        285) to the following extent: Both the United States and Mr. Springer are hereby
        authorized to publicly disclose. Including public filngs in Case No. 06-CV-156-TCK-FHM,




                                                                              c1USA & Springer
                  , ,'.
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         the Motion for (1) Copy of All Sworn Testimony Court Considered in Issuance of Search

         Warrnt (2) the Application for the Search Warrant and (3) Return of Certain Propert

         Either Not Items Listed in Search Warrant or Clearly Not Subject to Seizure (Dkt. 198); the

         United States of America's Response '~o Movant's Motion for Copy of Sworn Testimony,

         Application for Search Warrant and Return of Certain Seized Items (Dkt. 215); and the

         Court's Order of October 28, 2005 (Dk1. 227).

               The Court Clerk for the United States District Court for the Northern District of

         Oklahoma is hereby authonzed to provide to the United States and to Mr. Springer copies

         of the Motion for (1) Copy of All Sworn Testimony Court Considered in Issuance of Search

         Warrant (2) the Application for the Seurch Warrnt and (3) Return of Certain Property

         Either Not Items Listed in Search Warrant or Clearly Not Subject to Seizure (Dkt. 198); the

         United States of Amenca's Response ti) Movant's Motion for Copy of Sworn Testimony,

         Application for Search Warrant and Return of Certain Seized Items (Dkt. 215); and the

         Court's Order of October 28, 2005 (Dkt. 227). The Court Clerk is also directed to provide

         a copy of this Order to the United States and to Mr. Spnnger.

                However, the Court wil not order the Court Clerk to unseal the documents In the

         Court's filing system as the documents are filed in the general sealed grand jury file.

               SO ORDERED this "itJ ~y of _ Vb ¿ Y , 2006.



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                                                          FRANK H. McCARTHY
                                                          UNITED STATES MAGISTRATE JUDGE




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